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Torrance L. Coburn
TIPP COBURN & ASSOCIATES PC
2200 Brooks Street
P.O. Box 3778
Missoula, MT 59806-3778
Telephone: 406.549.5186
torrance@tcsattorneys.com

      Attorney for Plaintiff

Michelle L. Gomez (Bar No. 41661037)
LITTLER MENDELSON, P.C.
1900 Sixteenth Street, Suite 800
Denver, CO 80202
Telephone: 303.362.2888
mgomez@littler.com

Michael Wilson (Bar No. 42333131)
1301 McKinney Street, Suite 1900
Houston, TX 77010-3031
Telephone: 713.951.9212
MiWilson@littler.com

      Attorney for Defendant


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

MICHAEL RYAN,                          CV 21-71-M-DWM

                       Plaintiff,
                                        STATEMENT OF
vs.                                     STIPULATED FACTS

UNITED PARCEL SERVICE, INC.,

                       Defendant.
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      Pursuant to L.R.16.2(b)(3), the parties, through counsel, have consulted and

stipulate to the following facts.

      1. Plaintiff Michael Ryan is a resident of Missoula County, Montana.

      2. Defendant United Parcel Service, Inc. (“United Parcel Service”) is an

          Ohio corporation with its principal office address located at 55 Glenlake

          Parkway NE, Atlanta GA 30328. The Defendant has conducted and

          currently conducts business in Montana and is authorized to do the same.

          The registered agent for the Defendant is Corporation Service Company,

          at 26 W. Sixth Avenue, Helena, Montana 59624-1691.

      3. Venue and jurisdiction are proper in this Court.

      4. Michael Ryan began his employment with United Parcel Service in

          October 2007.

      5. At the time his employment with United Parcel Service ended, he worked

          at United Parcel Service’s center in Missoula, Montana.

      6. United Parcel Service terminated Michael Ryan’s employment on August

          18, 2020.

      7. Michael Ryan’s position at the time of his termination by United Parcel

          Service was Part Time Local Sort Supervisor.

      8. At the time of his termination by United Parcel Service, Michael Ryan

          earned $19.61 per hour (regular pay).
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9. Prior to his termination by United Parcel Service, Michael Ryan had

   completed United Parcel Service’s probationary period of employment.

DATED this 14th day of July, 2021.

                         TIPP COBURN & ASSOCIATES PC

                         By: /s/ Torrance L. Coburn
                         Torrance L. Coburn
                         2200 Brooks Street
                         P.O. Box 3778
                         Missoula, MT 59806-3778
                         Attorney for the Plaintiff

DATED this 14th day of July, 2021.

                         LITTLER MENDELSON, P.C.

                         By: /s/ Michelle L. Gomez
                         Michelle L. Gomez
                         1900 Sixteenth Street, Suite 800
                         Denver, CO 80202-5835

                         LITTLER MENDELSON, P.C.

                         By: /s/ Michael Wilson
                         Michael Wilson
                         1301 McKinney Street, Suite 1900
                         Houston, TX 77010-3031
                         Attorneys for the Defendant
            Case 9:21-cv-00071-DWM Document 10 Filed 07/14/21 Page 4 of 4



                                 CERTIFICATE OF SERVICE

     I hereby certify that, on this 14th day of July, 2021, a copy of the foregoing
document was served on the following persons by the following means:


1, 2               CM/ECF

    1. Michelle L. Gomez
       LITTLER MENDELSON, P.C

    2. Michael Wilson
       LITTLER MENDELSON, P.C


                                     By: /s/ Torrance L. Coburn
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